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                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

 Ronald Chad Allen                        )
       Plaintiff                          )
                                          )
 v.                                       )           Case No.       3:17-cv-00211-DJH
                                          )
 Equifax Information Services, LLC et al. )
       Defendants                         )
                                          )

                                    JOINT STATUS REPORT
        Come the Plaintiff, Ronald Chad Allen, and the Defendant, Credit One Bank, N.A.

 (jointly, the “Parties”), by and through undersigned counsel, and for their Joint Status Report

 filed pursuant to this Court’s Order of June 27, 2018 [DE 41] and Order of November 28, 2017

 [DE 28], state as follows:

        Pursuant to this Court’s Order of November 28, 2017 referring Plaintiff’s claims against

 Credit One Bank, N.A. (“Credit One”) in this action to arbitration, Plaintiff initiated an

 arbitration proceeding of his claims against Credit One with the American Arbitration

 Association (“AAA”) on February 26, 2018 under Case No. 01-18-0000-9213. The AAA has

 assigned the arbitration proceeding to arbitrator Jan M. West, and Ms. West has established a

 scheduling order. A copy of the arbitrator’s scheduling order is attached for reference.



 HAVE SEEN AND APPROVED:

 /s/ James H. Lawson                          /s/ J. Brian Jackson (by permission)
 James H. Lawson                              J. Brian Jackson
 Lawson at Law, PLLC                          McGuire Woods LLP
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                                    Credit One Bank, N.A.




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